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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION


IN RE
                                                 )       CASE NO.: 18-54310 JWC
WYUANNA TAYLOR-JAMES                             )
                                                 )       CHAPTER 13
Debtor                                           )


                          CERTIFICATE OF MANNER OF SERVICE
                             UNDER BANKRUPTCY RULE 7004


        I, David S. Ballard, hereby certify that I am, and all times hereinafter mentioned am, over the age
of 18 and that on July 23, 2018, I served a true and correct copy of Debtor’s Notice of Hearing on Modified
Chapter 13 Plan and of Deadline for Objections:

 [X]     by Mail Service: First Class United States Mail, postage fully pre-paid addressed to:

         1. Atlanta Diamond Realty                         4. Battle Creek Village
            Attn: Son Thi Nguyen                              Attn: CEO
            1174 Forest Parkway – Suite D                     727 South Orange Avenue
            Morrow, Georgia 30260                             Sarasota, Florida 34236

         2. Battle Creek Village                           5. Battle Creek Village
            Attn: CEO                                         Attn: The Corporation Company/
            1174 Battle Creek Road                            Reg. Agent
            Jonesboro, Georgia 30236                          112 North Main Street
                                                              Cumming, Georgia 30040
         3. Farmers Home Furniture
            Attn: CEO                                      6. Santander Consumer USA
            1851 Telfair St.                                  Attn: CEO
            Dublin, Georgia 31021                             1601 Elm Street Suite 800
                                                              Dallas, Texas 75201

         Under penalty of perjury, I declare that the following is true and correct.

 July 23, 2018                                           /s/ David S. Ballard
 Date                                                    DAVID S. BALLARD
                                                         Georgia Bar No. 635107
                                                         Attorney for Debtor
 113 Glynn Street S.
 Fayetteville, Georgia 30214 /Tel: 770-461-4222
